Case 7:19-cr- 01921 Document 1 Filed on 10/03/19 in TXSD Page 1 of 1

_ Ynlted States pj
strl
| thern pptelet Of Tent
UNITED STATES DISTRICT COURT .
SOUTHERN DISTRICT OF TEXAS OCT 03 2019
McALLEN DIVISION
David J, Bradie
Y. Clerk
UNITED STATES OF AMERICA § . ae
Ss ——-
v. § Criminal No.
§ " M- 49-1927
DAVID FOX 5 )

| SEALED CRIMINAL INFORMATION

_THE UNITED STATES ATTORNEY CHARGES:

On or about November 20, 2018, in the Southern District of Texas and within the
jurisdiction of the Court, defendant, |

DAVID FOX

while under oath and testifying in a proceeding before a Grand Jury of the United States,
knowingly made a material false declaration by responding “No” to the question “Did you receive
any money or any benefit from any individual or entity in connection with casting a vote as a
member of the Weslaco City Commission?”

All in violation of Title 18, United States Code, Section 1623(a).

RYAN K. PATRICK
- United States Attorney

 

 

 
